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                                                         November 5, 2020

    VIA ECF

    The Honorable Richard Berman
    United States District Court
    Southern District of New York
    500 Pearl Street
    New York, NY 10007

           Re:   United States v. Pedro Ramos, 20 CR 478 (RMB)

    Dear Judge Berman:

          With the consent of the Government and Pretrial Services, I write to
    request a modification of Mr. Ramos’ bail conditions to allow him to travel to
    Connecticut for work. All other bail conditions would remain the same.

           While out on bail Mr. Ramos has been compliant with the mandates
    set forth by the Court and Pretrial Services. He reports regularly to Pretrial
    Services and maintains communication with my office.

    Thank you for your consideration of this application.

                                                  Respectfully submitted,


                                                  _____________________________
Modification granted on consent.                  Tamara L. Giwa
                                                  Counsel for Pedro Ramos
                                                  Federal Defenders of New York
                                                  (917) 890-9729


    Cc:    AUSA Kedar Bhatia (via ECF)
           Pretrial Services Officer Joshua Rothman (via email)


   11/9/2020
